Case 8:04-cr-00321-JSM-MAP Document 232 Filed 04/13/11 Page 1 of 2 PageID 943




                                 UNITED STATES DISTRICT COURT
                                  MIDDLE DISTRICT OF FLORIDA
                                        TAMPA DIVISION


CHARLES DANIEL MAYE,

         Petitioner,

-vs-                                                                           Case No. 8:04-CR-321-T-30EAJ


UNITED STATES OF AMERICA,

      Respondent.
_____________________________________/

                                                      ORDER

         This matter comes before the Court upon Petitioner’s Notice of Appeal (Dkt. 226) of

the February 17, 2011 decision denying Petitioner’s Motion to Vacate Judgment of

Conviction (Dkt. 223). The Court construes the Notice of Appeal as an application for

issuance of a certificate of appealability pursuant to 28 U.S.C. §22531 (Dkt. 231), see

Edwards v. United States, 114 F.3d 1083, 1084 (11th Cir. 1997).

         A certificate of appealability may issue only where "the applicant has made a

substantial showing of the denial of a constitutional right." 28 U.S.C. § 2253(c)(2). To merit

a certificate of appealability, Petitioner must show that reasonable jurists would find

debatable both (1) the merits of the underlying claim and (2) the procedural issues he seeks

to raise. See 28 U.S.C. § 2253(c)(2); Slack v. McDaniel, 529 U.S. 473, 478 (2000); Eagle

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                “Unless a circuit justice or judge issues a certificate of appealability, an appeal may not be taken to
the court of appeals from -- (A) the final order in a habeas corpus proceeding in which the detention complained of arises
out of process issued by a State court;. . . (2) A certificate of appealability may issue . . . only if the applicant has made
a substantial showing of the denial of a constitutional right." 28 U.S.C. § 2253(c).
Case 8:04-cr-00321-JSM-MAP Document 232 Filed 04/13/11 Page 2 of 2 PageID 944




v. Linahan, 279 F.3d 926, 935 (11th Cir 2001). Because the motion to vacate the judgment

is essentially a second or successive motion pursuant to 28 U.S.C. § 2255, and Petitioner has

not applied to the Eleventh Circuit Court of Appeals for permission to file this second § 2255

motion, this Court was without jurisdiction to consider his successive motion. Farris v. U.S.,

333 F.3d 1211, 1216 (11th Cir. 2003)("Without authorization, the district court lacks

jurisdiction to consider a second or successive petition."). Thus, Petitioner has failed to

satisfy the second prong of the Slack test. 529 U.S. at 484.

       ACCORDINGLY, the Court ORDERS that Petitioner’s construed application for a

certificate of appealability (Dkt. 231) is DENIED.

       DONE and ORDERED in Tampa, Florida on April 13, 2011.




SA:sfc
Copy to: Petitioner pro se
         Counsel of Record




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